     Case 18-00194-als11           Doc 67      Filed 03/30/18 Entered 03/30/18 14:02:46              Desc
                                                    Page 1 of 1
                              IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE SOUTHERN DISTRICT OF IOWA

In the Matter of:
Anthony Wayne Salter,                                                        Case No. 18−00194−als11
Mary Frances Salter,
                                       Debtor(s)


                               March 29, 2018 Telephonic Preliminary Hearing on:
                           Motion to Obtain Secured Credit (#40) and Objection (#53)

Appearances were noted on the record.


                                                      ORDER
                                      (date entered on docket: March 30, 2018)


       Based upon the filed documents and the arguments made at the time of the hearing




It is hereby ORDERED that:

       The controversy is continued for further evidentiary hearing on April 11, 2018 at 11:00 a.m. in U.S. Post
Office Building, 6th and Broadway, Council Bluffs, Iowa.


                                                                              /s/ Anita L. Shodeen

                                                                              U.S. BANKRUPTCY JUDGE




Parties receiving this order from the Clerk of Court:
     Electronic Filers in this Chapter Case
